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                                                                                                   Reset Form

 1                                   UNITED STATES DISTRICT COURT
 2                                 NORTHERN DISTRICT OF CALIFORNIA
 3                                                   )
     State of California, et al.                                  4:17-cv-05783-HSG
                                                     )   Case No: _______________
 4                                                   )
                                     Plaintiff(s),   )   APPLICATION FOR
 5                                                   )   ADMISSION OF ATTORNEY
             v.
                                                     )   PRO HAC VICE ; ORDER
 6   US Dep't of Health & Human Services             )   (CIVIL LOCAL RULE 11-3)
                                                     )
 7                                                   )
                                     Defendant(s).
                                                     )
 8
          I, Christian Douglas Wright              , an active member in good standing of the bar of
 9    Delaware                      , hereby respectfully apply for admission to practice pro hac vice in the
10    Northern District of California representing: Plaintiff State of Delaware                  in the
                                                                 Karli Eisenberg
      above-entitled action. My local co-counsel in this case is __________________________________,     an
11    attorney who is a member of the bar of this Court in good standing and who maintains an office
12    within the State of California.
       MY ADDRESS OF RECORD:                               LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13                                                        California Dep't of Justice; Office of the Attorney
      Delaware Department of Justice; 820 N. French
      Street, 5th Floor; Wilmington, DE 19801             General; 1300 I Street, Sacramento, CA 95814
14
       MY TELEPHONE # OF RECORD:                           LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15    (302) 577-8944                                      (916) 210-7913
       MY EMAIL ADDRESS OF RECORD:                         LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16    christian.wright@delaware.gov                       karli.eisenberg@doj.ca.gov
         I am an active member in good standing of a United States Court or of the highest court of
17    another State or the District of Columbia, as indicated above; my bar number is: 3554         .
18        A true and correct copy of a certificate of good standing or equivalent official document from said
      bar is attached to this application.
19       I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
      Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
          I declare under penalty of perjury that the foregoing is true and correct.
21
      Dated: 07/22/20                                               Christian Douglas Wright
22                                                                               APPLICANT

23
                                     ORDER GRANTING APPLICATION
24                             FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of Christian Douglas Wright                   is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
27   designated in the application will constitute notice to the party.

28   Dated: 7/23/2020
                                                           UNITED STATES DISTRICT/MAGISTRATE JUDGE

     PRO HAC VICE APPLICATION & ORDER                                                                  October 2012
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